         Case 8:19-cv-01212-FLA-JDE Document 88 Filed 09/23/21 Page 1 of 4 Page ID #:444
                                                                                                                          FILED
                                                                                                               CLERK, U.S. DISTRICT COURT
                                                LIST OF EXHIBITS AND WITNESSES
 Case Number            SA CV19-01212-FLA (JDEx)           Title        PAVEL FUKS v. YURI VANETIK                    SEP 23 LYL)
     Judge              FERNANDO L. AENLLE-ROCHA

 Dates of Trial                                                                                              BY                        DEPUTY
  or Hearing
                        9/21/21, 9/22/21, 9/23/21.

 Court Reporters        ANNE KIELWASSER
  or Tape No.

 Deputy Clerks          V.R. VALLERY/TWYLA FREEMAN

                  Attorneys)for Plaintiffs)/ Petitioner(s)                                  Attorneys)for Defendants)/ Respondent(s)

                        JOHN W.LOMAS,JR.                                                            JOHN M. HAMILTON

                         JOSEPH R. ASHBY




     Plaintiffs) or Petitioners)              Defendants) or
                                               Respondents)
                                                                                     EXHIBIT DESCR[PTION /WITNESS                       Called By
 Ex. No.          Id.        Ev.      Ex. No.        Id.           Ev

                                                                           Pavel Fuks - 9/21; 9/22; 9/23;                              Plaintiff

                                                                           Yuri Vanetik - 9/22;                                        Defense

22            9/22/21      9/22/21                                         Vanetik FARA Registration                                   Plaintiff
20            9/22/21     9/22/21                                          Inaugural Committee Underwriter Benefits                    Plaintiff

21            9~~2~~1      9/22/21                                         Opinion of California Court of Appeal /Division 3           Plaintiff

                                                                           Eric Rogers - 9/22;                                         Defense
                                                                           Khuseyn Agaev - 9/23;                                       Defense




G-65(03/07)                                                LIST OF EXHIBITS AND WITNESSES                                       Page     I of
     Case 8:19-cv-01212-FLA-JDE Document 88 Filed 09/23/21 Page 2 of 4 Page ID #:445




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8                                 UNITED STATES DISTRICT COURT
9                                CENTRAL DISTRICT OF CALIFORNIA
10
11     PAVEL FUKS,                                  ~ Case No. 8:19-cv-1212- FLA(JDEx)
12                                Plaintiff/s,
                                                     FIRST AMENDED JOINT EXHIBIT
13                     ~•                            LIST
14
15     YURI VANETIK,
16                                Defendant/s.
17
18
19
                                                 Witness Establishing       Date      Date
20     Ex. #                Descri tion               Foundation         Identified Admitted
21     1            Text file containing         Defendant objects to
                    messages exchanged           foundation.
22                  between Plaintiff and                                9/21/21    9/21/21
23                  Defendant from March 18,     PlaintiffPavlo Fuks
                    2016 through May 10,2017     will intends to
24                  wit~rtranslatiar~.           estabti~~ foundation.
25     2            Email from Yuri Vanetik      Foundation
                    sent November 21,2016        Stipulated              9/21/21
26                                                                                  9/21/21
                    with attached invoice from
27                  Odyssey Management,
                    LLC
28


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     Case 8:19-cv-01212-FLA-JDE Document 88 Filed 09/23/21 Page 3 of 4 Page ID #:446




 1     3            November 22, 2016 SWIFT        Foundation
                    receipt for payment of         Stipulated              9/21/21   9/21/21
2                   $200,000 to Odyssey
3                   Mana ement, LLC
       4            Defendant Yuri Vanetik's       Foundation
4                   Response to Special            Stipulated              9/22/21   9/22/21
 5 ~                Interrogatories, dated
                    November 20, 2019.
6 1 5               Email from Yuri Vanetik to     Foundation
7                   Matthew Keelen dated           Stipulated              9/22/21   9/22/21
                    January 13, 2017 with
 8                  Subject "3 vip for black tie
9                   and boots"
       6            Email from Yuri Vanetik to     Foundation
10
                    Matthew Keelen dated           Stipulated              9/22/21   9/22/21
11                  January 12, 2017 with
                    Subject"Fwd: TSS Black
12
                    Tie &Boots"
13     7            Email from Matt Keelen to      Foundation
                    Yuri Vanetik dated January     Stipulated
14                                                                         9/22/21
                    28, 2017 with Subject "Re:
15                  Going to need some $from
                      ou for last week."
16
       8            Email from Matt Keelen         Foundation
                                                                           9~22~21   9/22/21
17                  dated January 13, 2017         Stipulated
                    with attachment.
18
       9            Inaugural Events: Vip          Plaintiff objects to
19                  program with no date           foundation.
                                                                           9/22/21   9/22/21
20                  attached.
                                                   Defendant Yuri
21                                                 Vanetik intends to
22                                                 establish foundation.
        10          Odyssey-Paulo Fuks             Plaintiff objects to
23                  Confidential Consulting        foundation.
24                  agreement dated September                              9/21/21   9/22/21
                    21, 2016.                      Defendant Yuri
25                                                 Vanetik intends to
26                                                 establish foundation.
        11          Plaintiffs Objections and      Foundation
27                  Responses to defendant's       Stipulated
28                  first set of re uest for


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     Case 8:19-cv-01212-FLA-JDE Document 88 Filed 09/23/21 Page 4 of 4 Page ID #:447




 1                  admissions dated January
                    13, 2020.
2      12           Plaintiff's Objections and     Foundation
3                   Responses to defendant's       Stipulated
                    first set of special
4                   interrogatories dated
5                   Janua 13, 2020
       13           Text files between Plaintiff   Plaintiff objects to
6                   and Defendant from March       foundation.
7                   20, 2016 through March 29,                             9/21/21   9/22/21
                    2016 with translations         Defendant Yuri
8                                                  Vanetik intends to
9                                                  establish foundation.
       14           Text message from              Plaintiff objects to
10
                    defendant to plaintiff dated   foundation.
11                  January 9, 2017
                                                   Defendant Yuri
12
                                                   Vanetik intends to
13                                                 establish foundation.
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